         Case 1:17-cr-00232-EGS Document 131 Filed 10/29/19 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                           Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                             Defendant




       GOVERNMENT’S NOTICE OF CLAIMS RAISED AND RELIEF SOUGHT
                FOR THE FIRST TIME IN A REPLY BRIEF

       Pending before this Court is defendant Michael Flynn’s Motion to Compel the Production

of Brady Material and For an Order to Show Cause, United States v. Flynn, 17-cr-232 (D.D.C.

Aug. 30, 2019) ( “Brady Motion”). On October 1, 2019, the government filed its response to the

Brady Motion, arguing that it has complied with its discovery and disclosure obligations,

including those imposed by Brady and this Court’s Standing Order. On October 22, 2019, the

defendant filed a document with the Court ostensibly styled as a reply to the government’s

response. See Reply in Support of His Motion to Compel Production of Brady Material and to

Hold the Prosecutors in Contempt, United States v. Flynn, 17-cr-232 (D.D.C. Oct. 22, 2019)

(“Reply”). This “Reply,” however, seeks new relief and makes new claims, based on new

arguments and new information.

       In an extraordinary reversal, the defendant now claims that he is innocent of the criminal

charge in this case. See, e.g., Reply at 2 (“When the Director of the FBI, and a group of his close

associates, plot to set up an innocent man and create a crime . . . .”). For the first time, the

defendant represents to this Court that he “was honest with the agents [on January 24, 2017] to

the best of his recollection at the time.” Reply at 23. He makes this claim despite having
         Case 1:17-cr-00232-EGS Document 131 Filed 10/29/19 Page 2 of 5



admitted his guilt, under oath, before two federal judges (including this Court). The defendant

also argues—based almost entirely on evidence previously provided in discovery—that the

government engaged in “conduct so shocking to the conscience and so inimical to our system of

justice that it requires the dismissal of the charges [sic] for outrageous government conduct.”

Reply at 2. The Reply then seeks a new category of relief, that “this Court . . . dismiss the entire

prosecution for outrageous government misconduct.”1 Reply at 32.

       To the extent the defendant refers to potential Brady material, the subject of the original

motion, he raises numerous arguments and claims for the first time in his Reply. For example,

he asserts, inter alia, that the government had an obligation to provide Brady material to him

prior to charging him in a criminal case (Reply at 4, 18-20); that the government suppressed the

“original 302” of his January 24, 2017 interview with the Federal Bureau of Investigation

(“January 24 interview”) (Reply at 23-24); that the government fabricated certain January 24

interview notes and reports documenting his false statements (Reply at 23-24); that the

government suppressed text messages that “would have made a material difference” to the

defendant (Reply at 6); that the defendant’s false statements were not material (Reply at 27-28);

that the defendant’s attorneys were acting under an “intractable conflict of interest,” which the

government exploited to extract a guilty plea (Reply at 17-18); and that the “FBI had no factual

or legal basis for a criminal investigation” (Reply at 14-16). Each new argument or claim is

unsupported by fact or law.

        “Issues may not be raised for the first time in a reply brief.” See United States v.

Apodaca, 251 F. Supp. 3d 1, 5 (D.D.C. 2017); see also Rollins Envtl. Servs. (NJ) Inc. v. EPA,


1
       Local Criminal Rule 47(a) specifically requires that “[e]ach motion shall include or be
accompanied by a statement of the specific points of law and authority that support the motion,
including where appropriate a concise statement of the facts” (emphasis added). The defendant
now seeks relief from this Court for claims that he has not properly raised.
                                                 2
         Case 1:17-cr-00232-EGS Document 131 Filed 10/29/19 Page 3 of 5



937 F.2d 649, 652 n.2 (D.C. Cir. 1991)). The Federal Rules of Criminal Procedure do not

contemplate surreply motions; nor do the local criminal rules. However, by making new

arguments for the first time in his Reply, the defendant has potentially placed this Court in the

position of reviewing novel assertions and arguments that the defendant claims are essential to

his cause without the benefit of the government’s factual responses and legal analysis. See, e.g.,

McBride v. Merrell Dow and Pharm., Inc., 800 F.2d 1208, 1211 (D.C. Cir. 1986) (“Considering

an argument advanced for the first time in a reply brief . . . is not only unfair to [a non-movant],

but also entails the risk of an improvident or ill-advised opinion on the legal issues tendered.”

(citations omitted)).

       Federal Rule of Civil Procedure 7(b) has been construed to permit the filing of a surreply

where, as here, a party raises issues for the first time in a reply brief. “The standard for granting

a leave to file a surreply [in a civil case] is whether the party making the motion would be unable

to contest matters presented to the court for the first time in the opposing party’s reply.” Lewis v.

Rumsfeld, 154 F. Supp. 2d 56, 61 (D.D.C. 2001). “A surreply may be filed ... only to address

new matters raised in a reply, to which a party would otherwise be unable to respond.” Gonzalez-

Vera v. Townley, 83 F. Supp. 3d 306, 315 (D.D.C. 2015) (citing United States ex rel. Pogue v.

Diabetes Treatment Ctrs. of Am., Inc., 238 F.Supp.2d 270, 276 (D.D.C. 2002)). In cases in this

Circuit, “district court[s] routinely grant[] such motions” when this standard is satisfied. Ben-

Kotel v. Howard Univ., 319 F.3d 532, 536 (D.C. Cir. 2003).

       In light of the new claims raised in the Reply, the government was prepared to file a

motion seeking leave to file a surreply. On October 28, 2019, however, the Court issued a

minute order stating, “In view of the parties’ comprehensive briefing concerning [109]

Defendant’s Motion to Compel Production of Brady Material, the Court cancels the motion

hearing previously scheduled for November 7, 2019.” In light of this minute order, it may be
                                                  3
         Case 1:17-cr-00232-EGS Document 131 Filed 10/29/19 Page 4 of 5



that the Court intends to strike any arguments or claims raised for the first time by the defendant

in his Reply. And it may be that the Court plans to require the defendant to raise any new claims

for relief in a properly pled motion to which the government can respond fully.

       Accordingly, the government is filing this Notice and seeking guidance from the Court.

Should the Court wish to address the claims raised for the first time in the Reply, the government

respectfully requests the opportunity to file a surreply that concisely addresses only newly-raised

Brady issues, such as those identified above. The government would be prepared to file a

surreply within 48 hours.



                                                     Respectfully submitted,

                                                     JESSIE K. LIU
                                                     United States Attorney
                                                     D.C. Bar No. 472845

                                                     By:             /s/

                                                     Brandon L. Van Grack
                                                     Special Assistant U.S. Attorney
                                                     950 Pennsylvania Ave., NW
                                                     Washington, DC 20530
                                                     (202) 233-0968

                                                     Jocelyn Ballantine
                                                     Assistant United States Attorney
                                                     555 4th Street, NW
                                                     Washington, D.C. 20530
                                                     (202) 252-7252



Dated: October 29, 2019




                                                 4
         Case 1:17-cr-00232-EGS Document 131 Filed 10/29/19 Page 5 of 5



                               CERTIFICATE OF SERVICE

      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on October 29, 2019.




                                                        /s/
                                              Jocelyn Ballantine
                                              Assistant United States Attorney
                                              555 4th Street, NW
                                              Washington, D.C. 20530
                                              (202) 252-7252

                                              Attorney for the United States of America




                                                 5
